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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )                    8:08CR439
                                             )
RAY S. THOMAS and                            )                      ORDER
JOSEPH T. JORDAN,                            )
                                             )
                     Defendants.             )


      This matter is before the court on the motion of defendant, Ray S. Thomas, for a 60-
day extension of time in which to file pretrial motions [48]. Codefendant Joseph T. Jordan
made an oral motion to join in this request. Upon review of the file, the court finds that a
21-day extension should be granted.

      IT IS ORDERED that the oral motion to join in the written motion is granted, and the
Motion to Enlarge Time to File Pretrial Motions [48] is granted, in part, as follows:

      1. The deadline for filing pretrial motions is extended to March 16, 2009 as to
defendants Thomas and Jordan.

       2. Defendants Thomas and Jordan shall file waivers of speedy trial as soon as
practicable.

        3. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of
this motion, that is, the time between February 23, 2009 and March 16, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason that counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B)(iv).

       DATED February 24, 2009.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
